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 8
                        UNITED STATES DISTRICT COURT
 9                    SOUTHERN DISTRICT OF CALIFORNIA
                    (HONORABLE CATHY ANN BENCIVENGO)
10

11   UNITED STATES OF AMERICA,              )    Criminal No. 19CR3630-CAB
12
                                            )
                        Plaintiff,          )    SUPPLEMENT TO
13                                          )    DEFENDANT'S SENTENCING
            v.                              )    MEMORANDUM
14
                                            )
15   CANDICE HARRINGTON,                    )    Date: February 10, 2021
                                            )    Time: 9:30 a.m.
16
                        Defendant.          )
17                                          )
18   TO: ROBERT S. BREWER, JR., UNITED STATES ATTORNEY,

19          MATTHEW J. SUTTON, ASSISTANT U.S. ATTORNEY,

20
            AND U.S. PROBATION OFFICER FRANCISCO TORRES

21
            Defendant Candice Harrington, by and through her counsel, Lewis C.
22
     Muller, hereby files pursuant to Local Rule 32.1 the following
23

24   supplement to the sentencing memorandum.

25   ////



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 1                       SENTENCING RECOMMENDATION
 2
           Counsel has used the additional time to review all the facts and mitigating
 3
     factors in light of the Defendant’s health issues and time in custody during this
 4

 5   pandemic.
 6
           As a result I am asking the Court to consider time served as to actual
 7
     custody.
 8

 9
           The most important step for her future is to get her back to Texas with her

10   family. Ms. Harrington has no place to stay here in California. She is asking for
11
     her supervision to be transferred to Texas as quickly as possible. Perhaps a few
12
     months in a half-way house would help.
13

14         The defendant is diabetic and asthmatic. The health care in custody has

15   been sporadic at best. She has been in custody during the worst of the pandemic.
16
           Therefore counsel respectfully asks the Court’s help in structuring a
17
     sentence that is sufficient but no more than necessary for this defendant.
18

19

20                                          Respectfully submitted,
21
     Dated: February 5, 2021                s/Lewis C. Muller
22                                          LEWIS C. MULLER,
                                            Attorney for Defendant
23
                                            Candice Harrington
24

25




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